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 AO 472 Order of Detention Pending Trial


                                              United States District Court
                                                 WESTERN DISTRICT OF MICHIGAN

 UNITED STATES OF AMERICA                                                    ORDER OF DETENTION
 V.                                                                          PENDING TRIAL
 Deandre L. Smith                                                            Case Num ber: 1:07-cr-00007

          In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention hearing has been held. I conclude that the following
 facts require the detention of the defendant pending trial in this case.

                                                           Part I – Findings of Fact
             (1) The defendant is charged with an offense described in 18 U.S.C. § 3142(f)(1) and has been convicted of a          federal
                 offense      state or local offense that would have been a federal offense if a circumstance giving rise to federal
                 jurisdiction had existed – that is
                      a crime of violence as defined in 18 U.S.C. § 3156(a)(4).
                      an offense for which the maximum sentence is life imprisonment or death.
                      an offense for which a maximum term of imprisonment of ten years or more is prescribed in

                      A felony that was committed after the defendant had been convicted of two or more prior federal offenses described
                      in 18 U.S.C. § 3142(f)(1)(A)-(C), or comparable state or local offenses.
             (2) The offense described in finding (1) was committed while the defendant was on release pending trial for a federal, state
                 or local offense.
             (3) A period of not more than five years has elapsed since the G date of conviction G release of the defendant from
                 imprisonment for the offense described in finding (1).
             (4) Findings Nos. (1),(2) and (3) establish a rebuttable presumption that no condition or combination of conditions will
                 reasonably assure the safety of (an) other person(s) and the community. I further find that the defendant has not
                 rebutted this presumption.

                                                           Alternate Findings (A)
             (1) There is probable cause to believe that the defendant has committed an offense
                       for which a maximum term of imprisonment of ten years or more is prescribed in .the Controlled Substances Act
                       under 18 U.S.C. § 924(c).
             (2) The defendant has not rebutted the presumption established by finding (1) that no condition or combination of conditions
                 will reasonably assure the appearance of the defendant as required and the safety of the community.

                                                           Alternate Findings (B)
             (1) There is a serious risk that the defendant will not appear.
             (2) There is a serious risk that the defendant will endanger the safety of another person or the community.


                                            Part II – W ritten Statement of Reasons for Detention
             I find that the credible testimony and information submitted at the hearing establish by a preponderance of the evidence that
1. Defendant has no ties to the Western District of Michigan; instead he resides in the Northern District of Indiana and has resided in Indiana
for his entire life.
2. Defendant has never been married, and does not reside with his one child in Gary, Indiana.
3. Defendant owns no real estate.
4. Although defendant is employed, his employment is in the nature of various temporary assignments at factories and on an as needed
basis depending on housing, remodeling and demolition jobs.
5. Defendant has been charged with the serious offense of armed credit union robbery and has been implicated by two of his co-defendants.
6. The robbery in question was of a particularly violent nature, involving the possession and racking of a gun by a co-defendant, two males
vaulting over the counter of the credit union in full disguise, and the use of a stolen vehicle as a getaway car.

                                                Part III – Directions Regarding Detention
          The defendant is committed to the custody of the Attorney General or his designated representative for confinement in a
 corrections facility separate, to the extent practicable, from persons awaiting or serving sentences or being held in custody pending
 appeal. The defendant shall be afforded a reasonable opportunity for private consultation with defense counsel. On order of a court of
 the United States or on request of an attorney for the Government, the person in charge of the corrections facility shall deliver the
 defendant to the United States marshal for the purpose of an appearance in connection with a court proceeding.

 April 18, 2007                                                      /s/ Ellen S. Carmody
 Date                                                               Signature of Judge


                                                                     Ellen S. Carmody, United States Magistrate Judge
                                                                    Name and Title of Judge
